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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 DAVID RYNIEC, an individual, and
 TIMONY RYNIEC, and individual,
                                Plaintiffs,
 v.                                                          Case No.    1:19-cv-00399

 GURPREET S. POONI, in his professional
 And personal capacity, and WHEEL KING
 TRANS HAUL, INC., a foreign corporation,
                                Defendants.

                                    NOTICE OF REMOVAL

        Defendants GURPEET S. POONI and WHEEL KING TRANS HAUL, INC., collectively

referred to as “Defendants,” through their attorneys, Wilson Elser Moskowitz Edelman & Dicker

LLP, pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, and the Local Rules of the United States District

Court for the Northern District of Illinois, hereby remove this lawsuit, pending as Case No.

2018-L-010084 in the Circuit Court for Cook County, Illinois, to the United States District Court for

the Northern District of Illinois, Eastern Division, the above-captioned case, and as grounds for

removal, state as follows:

        1.     This lawsuit arises out of personal injuries Plaintiffs allegedly sustained as a result of

a rear end motor vehicle collision that took place on May 12, 2016.

        2      On September 17, 2018, Plaintiffs commenced the above-captioned lawsuit in the

Circuit Court of Cook County, Illinois, Law Division, seeking damages for personal injuries

allegedly sustained. (See Exhibit A, Count I ¶16, Count II, ¶ 21, Count III, ¶25, Count IV, ¶30.)

        3.     Defendants were served Plaintiff’s summons and complaint on December 23, 2018.

(See Exhibit B.)




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                                      Diversity of Citizenship Exists
         4.     Plaintiffs David Ryniec and Timothy Ryniec (collectively “Plaintiffs”) are citizens of

the State of Illinois. (See Ex. A).

         5.     Defendant, Wheel King Trans Haul, Inc., is a Canadian corporation with its principal

place of business located in Ontario, Canada.

         6.     Defendant, Gurpeet S. Pooni, is a Canadian citizen, who is a resident in Ontario,

Canada. Mr. Pooni has not yet been served with Plaintiff’s Complaint.

         7.     Wheel King seeks removal of this action pursuant to 28 U.S.C. §§ 1332(c) and 1441(b)

based on diversity of citizenship. Plaintiffs are citizens of the State of Illinois. Defendant, Wheel King

Trans Haul Inc., is a Canadian corporation which is not incorporated, organized, or maintains a

principal place of business in Illinois. Defendant, Gurpeet S. Pooni is a resident of Canada.

         8.     As such, complete diversity of citizenship exists for purposes of Sections 1332 and

1441.

                         Amount in Controversy Requirement is Satisfied
         9.     Prior to May 16, 2018, Defendants received Plaintiffs’ pre-suit Demand Letter

seeking $1,000,000 in damages in regards to Timothy Ryniec’s claim and $900,0000 for David

Ryniec’s claim. See Exhibit B, Affidavit of Geoffrey A. Belzer.

         10.    Relying on a plaintiff’s demand as a basis for removal is an approach specifically

contemplated by the Seventh Circuit. See Meridian Sec. Ins. Co. v. Sadowski, 441 F.3d 536, 541

(7th Cir. 2006) (“[T]he removing defendant, as proponent of federal jurisdiction, must establish

what the plaintiff stands to recover. We have suggested several ways in which this may be done;

by reference to the plaintiff's informal estimates or settlement demands…”).

         11.    Therefore, pursuant to 28 U.S.C. § 1441(a), the above captioned case may be

removed to this Court since the amount in controversy requirement is satisfied.


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                                   Notice of Removal Timely Filed
        12.    In relevant part, 28 U.S.C. § 1446(b)(3) states: “…if the case stated by the initial

pleading is not removable, a notice of removal may be filed within thirty days after receipt by the

defendant, through service or otherwise, of a copy of an amended pleading, motion, order or other

paper from which it may first be ascertained that the case is one which is or has become removable.”

        13.    Defendant Wheel King has therefore timely petitioned this Court for removal as said

Notice of Removal is being filed within 30 days of receipt of information from which it was first

ascertained that this case is one which is removable.

                                            Conclusion
        14.    For the foregoing reasons, this Court has original jurisdiction over this action under

§1332(b), because complete diversity exists, and the amount in controversy exceeds the

jurisdictional limit of $75,000.

        WHEREFORE, Wheel King Trans Haul, Inc. Gurpeet S. Pooni and notifies this Court this

cause has been removed from the Circuit Court of Cook County, Illinois, to the United States

District Court for the Northern District of Illinois, Eastern Division, pursuant to the provisions of

28 U.S.C. §1446 and the Rules of the United States District Court for the Northern District of

Illinois.


Dated: January 15, 2019                       Wheel King Trans Haul, Inc.

                                              By: /s/ Geoffrey A. Belzer
                                                 Geoffrey A. Belzer
                                                 Wilson Elser Moskowitz Edelman & Dicker LLP
                                                 55 West Monroe Street, Suite 3800
                                                 Chicago, Illinois 60603-5016
                                                 312.704.0550 main | 312.821.6116 direct
                                                 Geoffrey.belzer@wilsonelser.com




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                                      Certificate of Service

        I hereby certify that on January 18, 2019, a copy of the Notice of Removal was filed
electronically. Notice of this filing will be sent to the following parties via electronic mail as
indicated to the following:

                                       Thomas G. Oddo
                                    Lillig & Thorsness Ltd.
                                    1900 Spring Rd, Ste 200
                                      Oakbrook IL 60523
                                     toddo@lilliglaw.com
                                      Counsel for Plaintiff

                                                 /s/ Geoffrey A. Belzer




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                                                                                                            FILED
                                                                                                            12/26/2018 1:01 PM
                                                                                                            DOROTHY BROWN
                                                                                                            CIRCUIT CLERK
                                                                                                            COOK COUNTY, IL
FILED DATE: 12/26/2018 1:01 PM 2018L010084




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                                                                                                                 EXHIBIT A
                                            Case: 1:19-cv-00399 Document #: 1 Filed: 01/18/19 Page 6 of 16 PageID #:6

                                                                         12-Person Jury
                                                                                                               FILED
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                                                                                                             COOK COUNTY, IL
FILED DATE: 9/17/2018 4:08 PM 2018L010084




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                                            Case: 1:19-cv-00399 Document #: 1 Filed: 01/18/19 Page 7 of 16 PageID #:7
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                                            Case: 1:19-cv-00399 Document #: 1 Filed: 01/18/19 Page 8 of 16 PageID #:8
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                                            Case: 1:19-cv-00399 Document #: 1 Filed: 01/18/19 Page 9 of 16 PageID #:9
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                                                                                                                EXHIBIT A
                                            Case: 1:19-cv-00399 Document #: 1 Filed: 01/18/19 Page 13 of 16 PageID #:13
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                                                                                                                EXHIBIT A
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                                                                                                                EXHIBIT A
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 DAVID RYNIEC, an individual, and
 TIMONY RYNIEC, and individual,

                                   Plaintiffs,
 v.                                                                    Case No.

 GURPREET S. POONI, in his professional
 And personal capacity, and WHEEL KING
 TRANS HAUL, INC., a foreign corporation,

                                   Defendants.

                             AFFIDAVIT OF GEOFFREY A. BELZER

         I, Geoffrey A. Belzer, being first duly sworn under oath, depose and state as follows:

      1. I am licensed to practice law in the states of Illinois and Ohio and employed by the law-

         firm of Wilson Elser as a Partner.

      2. I am admitted to the Northern District of Illinois continuously since 2007.

      3. I am the assigned attorney to the above captioned case representing the Defendants,

         Gurpeet S. Pooni and Wheel King Trans Haul, Inc. (collectively "Wheel King")

      4. I have personally discussed this case with Plaintiff's counsel, Thomas G. Oddo prior to

         Plaintiffs' filing of this lawsuit.

      5. On April 13, 2018, Mr. Oddo communicated a settlement demand to Wheel King's

         insurer via electronic mail.

      6. The demand communicated by Mr. Oddo was well in excess of $75,000 for the claim

         stated by Timothy Ryniec.

      7. The demand communicated by Mr. Oddo was well in excess of $75,000 for the claim

         stated by David Ryniec.




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                                                                                            EXHIBIT B
                                                                                            EXHIBIT B
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     8. While Mr. Oddo and I have spoken subsequently to the initial demands communicated by

         Plaintiffs, Mr. Oddo has never conveyed a demand of anything less than $75,000 for the

         claim stated by Timothy Ryniec and has never conveyed a demand of anything less than

         $75,000 for the claim stated by David Ryniec.

    9. I have expressed each of the statements communicated above pursuant to my personal

         knowledge.

         FURTHER AFFIANT SAYETH NOT.



Dated this .0day of January 2019.


                                                     Geoffre A. Belz r




SUBSCRIBED AND SWORN to
before me this 1—"day of January 2019.               OFFICIAL SEAL
                                                  MARY E. JASINSKI
                                              Notary Public - State of Illinois
                                            My Commission Expires 11/30/2021




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                                                                                       EXHIBIT B
                                                                                       EXHIBIT B
